Case 1:03-cV-01230-.]DB-tmp Document 38 Filed 06/09/05 Page 1 of 2 Page|D 70

FH.ED B‘r' , EJ_Q_
UNITED STATES DISTRICT COURT in

WESTERN DISTRICT 0F TENNESSEE 95 U _ .
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CL.E$'~`{?(. U.S. UFST. CT.

Plaintiff,
vs.

Civil Action No.: 1:03-1230- B/P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

Defendants.

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

It appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Cont`erence on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dat@d;this cl dayof :l_\)vt€_ ,2005.

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~J.-DANLEL-BREE-N “I`¢.. m. Phqw,
UNiTEI) sTATEs Brsa"-Rre=r JUDGE

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Honorable .1. Breen
US DISTRICT COURT

